     Case 8:17-cv-00830-DOC-JCG Document 53 Filed 10/20/21 Page 1 of 3 Page ID #:222




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11
                            UNITED STATES DISTRICT COURT
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13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                SOUTHERN DIVISION
15                                    )
      UNITED STATES OF AMERICA,       )   NO. SACV 17-830-DOC (JCGx)
16                                    )
                Plaintiff,            )  CONSENT JUDGMENT OF
17                                    )
           vs.                        ) FORFEITURE
18                                    )
19    $642,643.71 IN FUNDS FROM WELLS )
      FARGO BANK ACCOUNT ‘9784,       )
                                      )
20                                    )
                Defendant.            )
21                                    )
                                      )
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24
            Plaintiff and claimant Federal Insurance Company have made

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      a stipulated request for the entry of this Consent Judgment,

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      resolving this action in its entirety.

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     Case 8:17-cv-00830-DOC-JCG Document 53 Filed 10/20/21 Page 2 of 3 Page ID #:223




 1          The Court, having considered the stipulation of the
 2    parties, and good cause appearing therefor, HEREBY ORDERS
 3    ADJUDGES AND DECREES:
 4          1.    The government has given and published notice of this
 5    action as required by law, including Rule G of the Supplemental
 6    Rules for Admiralty or Maritime Claims and Asset Forfeiture
 7    Actions, Federal Rules of Civil Procedure, and the Local Rules
 8    of this Court.     Federal Insurance Company has filed a claim and
 9    would have filed an answer absent this settlement. John Bauche
10    previously filed a claim and answer which have since been
11    withdrawn.    No other statements of interest or answers have been
12    filed, and the time for filing such statements of interest and
13    answers has expired.      This Court has jurisdiction over the
14    parties to this judgment and the defendant bank funds.
15          2.    The following shall be returned to Federal Insurance
16    Company:
17                a.    $642,643.71 plus any interest earned thereon
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      since seizure.
19
            3.   Federal Insurance Company has agreed to release the
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      United States of America, its agencies, agents, and officers,
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      including employees and agents of the Federal Bureau of
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      Investigation, from any and all claims, actions or liabilities
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      arising out of or related to this action, including, without
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      limitation, any claim for attorneys’ fees, costs or interest
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      which may be asserted on behalf of Federal Insurance Company
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      against the United States, whether pursuant to 28 U.S.C. § 2465
27
      or otherwise.     Federal Insurance Company has also waived any
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     Case 8:17-cv-00830-DOC-JCG Document 53 Filed 10/20/21 Page 3 of 3 Page ID #:224




 1    rights it may have to seek remission or mitigation of the
 2    forfeiture.    Nothing in this Consent Judgment is intended as,
 3    nor should anything in this Consent Judgment be interpreted as
 4
      an admission by Federal Insurance Company or any other party of
 5
      any liability or wrongdoing.
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            4.   The Court finds that there was reasonable cause for the
 7
      seizure of the defendant bank funds pursuant to 28 U.S.C.
 8
      § 2465.    This judgment constitutes a certificate of reasonable
 9
      cause pursuant to 28 U.S.C. § 2465.
10

11
      DATED: October 20, 2021            ________________________________
12                                       THE HONORABLE DAVID O. CARTER
                                         UNITED STATES DISTRICT JUDGE
13

14
      Prepared by:
15
      TRACY L. WILKISON
16    Acting United States Attorney
      SCOTT M. GARRINGER
17
      Assistant United States Attorney
18    Chief, Criminal Division

19     /s/ Jonathan Galatzan
      JONATHAN GALATZAN
20

21    Assistant United States Attorney
      Chief, Asset Forfeiture Section
22

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